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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                             GREENBELT DIVISION


KILMAR ARMANDO ABREGO GARCIA,
et al.,

                       Plaintiffs,
         v.
                                               Case No. 8:25-cv-00951 (PX)
KRISTI NOEM, Secretary of the Department of
Homeland Security, et al.,

                       Defendants.



                     DEFENDANTS’ REPLY IN SUPPORT OF
                  DEFENDANTS’ MOTION TO DISMISS AS MOOT
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        The relief sought by Plaintiffs in this action was the return of Abrego Garcia to the United

States, leading this Court to grant an injunction to “facilitate . . . the return of Plaintiff Kilmar

Armando Abrego Garcia to the United States[.]” ECF No. 21 at 2. Plaintiffs have now received

the relief they sought in their Complaint, because Defendants have taken extraordinary steps and

have facilitated Abrego Garcia’s return to the United States. Accordingly, their claims are moot,

this Court lacks subject-matter jurisdiction, and this Court must dismiss under Rule 12(b)(1).

Plaintiffs’ marginal arguments attempt to bypass the immutable fact that they have received the

relief they sought in the Complaint. There is no live dispute in this action, the exceptions to the

mootness doctrine do not apply, and sanction proceedings have no bearing upon whether this

action is moot. Accordingly, the Court must dismiss Plaintiffs’ Complaint.

I.      There is no live dispute.

     A. Plaintiffs’ lead case is plainly inapposite.

        Contrary to Plaintiffs’ assertions that Chafin v. Chafin, 568 U.S. 165 (2013), supports that

the Court can still order relief in this case, Opp. at 9, Chafin is inapposite. In Chafin, a child’s

mother filed a petition seeking an order that her child be returned to Scotland. 568 U.S. at 170.

The district court ruled that Scotland was the child’s country of habitual residence and granted the

petition for return. Id. 171. The child’s father appealed. Id. The Eleventh Circuit, however,

remanded the case with instructions to dismiss as moot because, following the child’s return to

Scotland, it believed the court was “‘powerless’ to grant relief.” Id. The Supreme Court vacated

and remanded the Eleventh Circuit’s judgment because it determined that “there [was still] a live

dispute between the parties over where their child will be raised” and “the return does not render

this case moot so long as there is a live dispute between the parties.” Id. at 180.




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       As the Court stated, the Chafins continued to “vigorously contest” where their daughter

would be raised, and accordingly there remained a live dispute. And there was at least a prospect

that a court could order her return to the United States and thus provide the relief sought by the

father. Here, Abrego Garcia has already been returned to the United States; there is no longer a

live dispute between the parties; and there is thus no relief that this Court could provide.

   B. Returning Abrego Garcia to Maryland is not the relief Plaintiffs requested in the
      Complaint and is not legitimate relief in any case.

       Plaintiffs contend that a live dispute remains about “restoring Abrego Garcia to the status

quo ante,” which means—in Plaintiffs’ view—returning him to Maryland. See ECF No. 207

(“Opp.”) at 8-9. But no live dispute remains. Plaintiffs’ Complaint requests that Abrego Garcia be

returned from El Salvador to the United States—not Maryland. See ECF No. 1, Complaint

(“Compl.”) at 20-21. Tellingly, Plaintiffs do not cite the Complaint to support their assertion that

a live dispute remains about returning Abrego Garcia to Maryland. See Opp. at 8-9. That is because

their Complaint reveals that they have already received the relief they requested: the Government

has returned Abrego Garcia from El Salvador to the United States.

       Plaintiffs even acknowledge that certain claims they now make may not be “within the

ambit of the existing complaint” and “anticipate” addressing those issues in their “forthcoming

amended and supplemental complaint.” Id. at 16. Because Plaintiffs have obtained the relief they

sought from this Court in their operative Complaint, this case is moot and should be dismissed.

Defendants oppose Plaintiffs’ motion for leave to amend the Complaint, ECF No. 211, and plan

to respond to Plaintiffs’ motion in the ordinary course.

       Setting aside the incongruity with their own Complaint, Plaintiffs ignore that the relevant

“status quo ante” included a valid and final order of removal against Abrego Garcia. See ECF No.

1-1, Immigration Judge Order, at 2. Because he is lawfully removable from the United States under

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that order, Abrego Garcia’s apprehension in Maryland for purposes of removal from the United

States was lawful. The only problem was that his removal order included withholding of removal

from El Salvador in particular. But the Government has since facilitated his return to the United

States, remediating that issue and resolving any live dispute over his prior removal.

       Finally, as set forth in the Government’s opposition to Plaintiffs’ emergency motion for an

order to return Abrego Garcia to Maryland, there is no basis to ask the Court to return Abrego

Garcia to Maryland, and such a request is barred by the Immigration and Nationality Act (“INA”).

See ECF No. 208, at 1-5. Indeed, courts dismiss claims like Plaintiffs’ every day, nationwide. See,

e.g., Dvortsin ex rel. Gamal v. Noem, No. 5:25-cv-00664, at 7 (W.D. Tex. July 2, 2025).

   C. Plaintiffs lack standing for a “forward-looking injunction” requiring the Government
      to “follow the law” in the future.

       Plaintiffs next contend that a live dispute remains “about the handling of Abrego Garcia’s

immigration status” because this Court’s injunction required the Government to ensure that

Abrego Garcia’s case “is handled as it would have been had he not been improperly sent to El

Salvador.” See Opp. at 9-10. But Abrego Garcia’s case is being handled as it would have been. He

is currently receiving, and will receive, all requisite legal process in his immigration proceedings.

There is no basis to conclude otherwise.

       The fact that the Government erred by removing Abrego Garcia to El Salvador does not

give Plaintiffs standing for a “forward-looking injunction” requiring the Government to “follow

the law” in the future. To have standing to seek prospective injunctive relief (i.e., for a prospective

injunction request not to be moot), a plaintiff must either suffer a continuing injury or be under a

real and immediate threat of being injured in the future. See City of Los Angeles v. Lyons, 461 U.S.

95, 107 n.8(1983). Plaintiffs state that “[t]he Government has represented that after Abrego Garcia

is released from custody in the criminal case, ICE will take him into custody and commence


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removal proceedings.” Opp. at 11. But given his final order of removal, there is nothing unlawful

about that. Like all other aliens in removal proceedings, Abrego Garcia can point to nothing

entitling him to an injunction requiring the Government to follow the law in the future. Granting

him that kind of relief, therefore, would not be “handl[ing]” his case as if he had “not been

improperly sent to El Salvador”—it would provide him special treatment, unsupported by any legal

basis.

    D. Plaintiffs lack standing to seek a declaratory judgment regarding past actions, when
       those actions have already been remedied and there are no grounds for an injunction.

         Plaintiffs do not have standing to seek a declaratory judgment regarding past actions, when

those actions have already been remedied and there are no grounds for an injunction. A party

cannot keep a moot case alive by asking for a declaratory judgment. “[N]o federal court may issue

a declaratory judgment on past state action, where the action complained of is past and no other

relief [i.e., injunctive relief] is available.” Int’l Coal. for Religious Freedom v. Maryland, 3 F.

App’x 46, 50 (4th Cir. 2001) (citing Green v. Mansour, 474 U.S. 64, 71-74 (1985)). Rather,

“plaintiffs must identify some further concrete relief that will likely result from the declaratory

judgment.” Comite de Apoyo a los Trabajadores Agricolas (CATA) v. U.S. Dep’t of Lab., 995 F.2d

510, 513 (4th Cir. 1993). “Otherwise plaintiffs with mooted claims of injury could gain federal

jurisdiction simply by demanding declaratory relief,” as Plaintiffs attempt here. Id. Plaintiffs have

already received the relief requested in their Complaint—Abrego Garcia’s return to the United

States. No other relief is available to remedy the Government’s admitted error. And insofar as

Abrego Garcia wants a forward-looking declaratory judgment about how and where he can be

removed in the future, that request would be a preemptive attack on future removal that is plainly

barred by the INA. See 8 U.S.C. § 1252(g).




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II.      The exceptions to the mootness doctrine do not apply.

      A. The voluntary cessation exception does not apply here.

         The voluntary cessation exception does not apply in situations where the Government has

corrected its own mistake. See, e.g., Mo. Protection and Advocacy Servs., Inc. v. Carnahan, 499

F.3d 803, 811 (8th Cir. 2007) (holding that voluntary cessation did not apply where the

Government removed an individual from the voting rolls based on a mistake); Roehning v. United

States, 2023 WL 2666468, at *3 (D. Minn. Mar. 28, 2023) (holding that voluntary cessation did

not apply in case where FBI denied a background check to purchase a firearm based on a mistake

in a database). The removal of Abrego Garcia to El Salvador without first terminating his

withholding of removal to El Salvador was not a policy that the Government is conveniently

stopping because of the litigation but can restart anytime. It was a one-off mistake that the

Government conceded was an administrative error; that the Court ordered the Government to

remedy; and that the Government has now remedied. Presuming that the Government would

remove Abrego Garcia to El Salvador again without first terminating the grant of withholding of

removal after this case is dismissed, defies logic. The voluntary cessation exception to mootness

does not apply.

         Abrego Garcia misconstrues comments made by Attorney General Bondi, stating that:

“Upon completion of sentence we anticipate he will be returned to his home country of El

Salvador.” Opp. at 12. The Attorney General’s comment reflects the prospect that Abrego Garcia’s

grant of withholding of removal could be terminated by reopening his immigration proceedings

before effectuating any future removal. The Attorney General’s statement does not reflect an intent

to remove Abrego Garcia without first having the grant of withholding terminated.




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       Specifically, DHS may move to reopen the previous grant of withholding of removal for

the purpose of terminating the grant of withholding. See 8 C.F.R. § 1208.24(f). Withholding of

removal may be terminated if the alien is no longer eligible for withholding of removal. 8 C.F.R.

§ 1208.24(b). Upon a conviction for alien smuggling, Abrego Garcia’s termination of withholding

of removal could be terminated as an alien having been convicted of a “particularly serious crime.”

See 8 U.S.C. § 1231(b)(3)(B)(ii). The grant of withholding could also be terminated if “the

Attorney General decides that … there are reasonable grounds to believe that the alien is a danger

to the security of the United States.” 8 U.S.C. § 1231(b)(3)(B)(iv). Now that Abrego Garcia is back

in the United States, the Government has the prosecutorial discretion to decide if or how to seek

termination of withholding of removal.

   B. The “capable of repetition yet evading review” exception does not apply here.

       The “capable of repetition yet evading review” exception to the mootness doctrine also

does not apply, for the same reasons why the voluntary cessation exception does not apply, see

supra at 5-6, and more. This action did not evade review because it was of short duration—rather,

it triggered a preliminary injunction that the Government complied with, thereby solving the harm

and providing complete relief. See Casa de Maryland, Inc. v. Mayorkas, No. 8:20-CV-2118-PX,

2023 WL 3547497, at *3 (D. Md. May 18, 2023) (holding a case is moot where Plaintiffs obtained

the relief sought through injunction in a different case). There is no reasonable expectation that

Abrego Garcia will be subject to the same action again: removal to El Salvador without having the

grant of withholding of removal first terminated. Abrego Garica cites Cedar Coal as support for

the proposition that a “pattern or practice” of a challenged activity shows that there is “a reasonable

expectation that the same complaining parties . . . would be subjected to the same action again.”

Opp. at 17 (citing Cedar Coal Co. v. United Mine Workers of Am., 560 F.2d 11153, 1166 (4th Cir.



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1977)). But the removal of Abrego Garcia as challenged in the Complaint was an isolated mistake;

there is no pattern or practice of removing individuals granted withholding of removal to their

home country. Nor does Abrego Garcia allege a pattern or practice. See Opp. at 16-17.

III.       Sanction proceedings are collateral proceedings, and do not keep a case from being
           dismissed for mootness.

           Sanction proceedings are collateral to the merits of the underlying case. Fidrych v. Marriott

Int’l, Inc., 952 F.3d 124, 145 (4th Cir. 2020). Accordingly, sanction proceedings do not keep a

case from being dismissed for mootness, given that “a court’s power to resolve collateral issues

extends beyond its power to resolve the underlying case.” Id. Thus, Plaintiffs’ argument that “this

Court . . . retains jurisdiction to find contempt and impose sanctions,” Opp. at 18, is wrong. The

existence of sanction proceedings has no bearing as to whether a case should be dismissed as moot.

           The Court granted Plaintiffs “expedited discovery” into “the Government’s actions (or

failure to act) to facilitate Abrego Garcia’s return to the United States.” ECF No. 79, Order

Granting Expedited Discovery, at 1. The purpose of the discovery was to test whether the

Government was complying with the Court’s Order that “Defendants take all available steps to

facilitate the return of Abrego Garcia to the United States as soon as possible.” ECF No. 51, Order.

That Abrego Garcia is now back in the United States is the best proof of the Government’s

compliance. Thus, the discovery is moot, and continuing litigation over discovery that no longer

serves any purpose would be a waste of judicial and litigation resources. 1 Regardless of how it

may choose to resolve those collateral pending motions, the Court should therefore dismiss

Plaintiffs’ complaint as moot.




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    Regardless, the sanctions motion has been fully briefed. See ECF Nos. 196, 202.

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                                        CONCLUSION

       For the reasons stated above and in Defendants’ Motion to Dismiss as Moot, this Court

must dismiss Plaintiffs’ Complaint.

 Dated: July 6, 2025                          Respectfully submitted,

                                              BRETT A. SHUMATE
                                              Assistant Attorney General

                                              /s/ Drew C. Ensign ___________
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                                CERTIFICATE OF SERVICE

       I certify that on July 6, 2025, I caused to be filed the foregoing document via CM/ECF,

which caused a copy to be served on all parties.


                                             /s/ Drew Ensign
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